              Case 13-10134-MFW        Doc 1360-1      Filed 01/11/22     Page 1 of 2




            UNITED STATES BANKRUPTCY COURT DISTRICT OF DELAWARE



IN RE:

POWERWAVE TECHNOLOGIES, INC.                         Case No. 13-10134-MFW

                   Debtor(s).                        Chapter 7




                       NOTICE OF PROPOSED ABANDONMENT OF
                                    PROPERTY

          Charles A. Stanziale, the Chapter 7 Trustee (the "Trustee") for the bankruptcy estate

 (the "Estate") of the above-captioned debtor (the "Debtor"), hereby gives notice of the proposed

 abandonment of property (the "Notice of Abandonment"), pursuant to 11 U.S.C. § 554 and

 Federal Rules of Bankruptcy Procedure 6007.

          The Trustee has substantially completed his administration of the debtor’s chapter 7

 case. The Trustee intends to abandon the following property, not because of exemptions, security

 interest or liens, but because the property is no longer required to be maintained by the Trustee

 for his investigation or administration of the Debtor’s case, is expensive to continue to maintain

 in storage and is of inconsequential value.

          Books, records and external hard drives relating to the former operations of Powerwave

 that were turned over from the Chapter 11 proceeding. These books and records and the

 information contained on the hard drives is obsolete and of no significance or value to the

 bankruptcy estate. The safest way to dispose of same is to have all of the above shredded and

 destroyed. The Debtor’s books and financial records are primarily stored at Certified Records

 Management, in Pico Rivera, California consisting of over 8,000 boxes and the offices of the



ME1 39130751v.1
              Case 13-10134-MFW         Doc 1360-1      Filed 01/11/22     Page 2 of 2




 Trustee’s professionals, McCarter & English, LLP (“M&E”) and Crowe LLP (“Crowe”). The

 Trustee further seeks to abandon and destroy any and all records, including external drives, CDs

 and tapes that are held by Crowe and M&E.

          Any objections to the Notice of Abandonment must be filed with the Clerk of the United

 States Bankruptcy Court for the District of Delaware, 824 N. Market Street, 3rd Floor,

 Wilmington, Delaware 19801 and a copy served on the undersigned within fourteen (14) days

 (the "Objection Deadline") of the mailing of the Notice of Abandonment.

          If no objections to the Notice of Abandonment are filed with the United States

 Bankruptcy Court for the District of Delaware, the Property will be deemed abandoned from the

 Estate upon expiration of the Objection Deadline.

          The Trustee reserves the right, before the expiration of the aforesaid Objection Deadline,

 to withdraw this Notice of Abandonment by filing a separate notice of withdrawal should

 circumstances warrant.



Dated: January 11, 2022                               /s/ Charles A. Stanziale
                                                      Charles A. Stanziale, Chapter 7 Trustee
                                                      347 Mt. Pleasant Avenue, Suite 200
                                                      West Orange, NJ 07052
                                                      (201) 306-0066
                                                       cstanziale@chas- law.com:




ME1 39130751v.1
